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Google Play Revenue and Profit by Year, Worldwide, 2011–2021

                                     Total revenue                   App-related fees             Other Google Play revenues
                                     App-related ad revenue          Gross profit                 Operating profit
                          $20,000                                                                                              100%


                          $18,000                                                                                              90%


                          $16,000                                                                                              80%


                          $14,000                                                                                              70%




                                                                                                                                      Percentage of total revenue
  Revenue (in millions)




                          $12,000                                                                                              60%


                          $10,000                                                                                              50%


                           $8,000                                                                                              40%


                           $6,000                                                                                              30%


                           $4,000                                                                                              20%


                           $2,000                                                                                              10%


                              $0                                                                                               0%
                                    2011   2012      2013     2014    2015     2016     2017   2018   2019      2020   2021

Source: GOOG-PLAY-000416245 (Google P&L); GOOG-PLAY-001090227 at Sheet “Ads Revenue and Costs on Play S”
(Cost and revenue data for ads that appear in Google Play) (PX 0373, PX 0429, PX 0430); GOOG-PLAY-010801680; GOOG-
PLAY-010801682.




                                                                                                              EXHIBIT 6950
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